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                                                                    SHEIN is a global fashion and lifestyle e-retailer committed
         ABOUT US                                                   to making the beauty of fashion accessible to all. We use
                                                                    on-demand manufacturing technology to connect suppliers
                                                                    to our agile supply chain, reducing inventory waste and
                                                                    enabling us to deliver a variety of affordable products to
                                                                    customers around the world. From our global offices, we
                                                                    reach customers in more than 150 countries. To learn more
                                                                    about SHEIN, visit us.SHEIN.com .




         SHEIN AT-A-GLANCE

                            0
                           Q
                           Nearly                                                                                                       selling to


                   10,000                                                      58o/o                                               150+
               employees worldwide                            total female employees worldwide                                          countries




  WOMEN       PLUS   HOME         KIDS   MEN   BEAUTY               SHEIN                    Free Standard Shipping on orders
                                                                                             over US$49.00



     NEW IN       FW22     SALE      SHEIN X DESIGNERS   CLOTHING    DRESSES      TOPS     LINGERIE & LOUNGE                    Jeans


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                                                                   that by leading the development of alternative processes
                                                                   and technologies to bring fashion into the future.

                                                                   Our customers are at the core of our business model,
                                                                   driving our growth to a team of nearly 10,000 employees
                                                                   serving more than 150 countries within less than a decade.
                                                                   Our digital-first model meets customers where they are: on
                                                                   mobile devices, online and on social media. We have
                                                                   become one of the most popular shopping apps and
                                                                   continue to engage customers by providing multiple content
                                                                   streams directly within the SHEIN platform and delivering
                                                                   the best online shopping experience.




                                                                   Consumers no longer follow a unified standard of what is
         MAKING THE                                                considered "fashionable" or "beautiful". We believe that the
                                                                   clothes we wear reflect our personalities and we want to
         BEAUTY OF                                                 empower everyone to explore and express their
                                                                   individuality. To do this, SHEIN creates a w ide range of
         FASHION
                                                                   options to fit any mood or occasion.

         ACCESSIBLE TO


  WOMEN       PLUS   HOME        KIDS   MEN   BEAUTY               SHEIN                    Free Standard Shipping on orders
                                                                                            over US$49.00



     NEW IN       FW22    SALE      SHEIN X DESIGNERS   CLOTHING    DRESSES      TOPS     LINGERIE & LOUNGE                    Jeans



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                                                                   SHEIN's mission is to serve as a leader in the industry and
         DRIVING                                                   bring fashion into the modern era. We employ cutting-edge
                                                                   technologies and processes in our design and sourcing to
         TECHNOLOGICAL                                             stay well-informed of what is in-demand by consumers,
                                                                   produce goods in a timely manner and deliver the products
         INNOVATION
                                                                   quickly to anywhere in the world. By developing proprietary
                                                                   logistics and ecommerce technology, we are disrupting the
                                                                   fashion space and improving outcomes for manufacturers,
                                                                   suppliers and consumers.



                                                                   Digitally Empowered Agile Supply Chain

                                                                   To meet demand, we have built a fully digital supply chain
                                                                   that seamlessly and quickly delivers products to our
                                                                   customers worldwide. We use proprietary software to track
                                                                   sales and communicate with our factories in real time to
                                                                   order in small batches. Our digital supply chain is the core
                                                                   of our business model and empowers us to offer a wide




  WOMEN       PLUS   HOME        KIDS   MEN   BEAUTY               SHEIN                    Free Standard Shipping on orders
                                                                                            over US$49.00



     NEW IN       FW22    SALE      SHEIN X DESIGNERS   CLOTHING    DRESSES      TOPS     LINGERIE & LOUNGE                    Jeans



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